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 1   CRAVATH, SWAINE & MOORE LLP
     Antony L. Ryan (admitted pro hac vice)
 2   Kevin J. Orsini (admitted pro hac vice)
 3   Lauren M. Rosenberg (admitted pro hac vice)
     Worldwide Plaza
 4   825 Eighth Avenue
     New York, New York 10019
 5   Tel.: (212) 474-1000
     Fax: (212) 474-3700
 6
     aryan@cravath.com
 7   korsini@cravath.com
     lrosenberg@cravath.com
 8

 9   QUINN EMANUEL URQUHART & SULLIVAN LLP
     Michael E. Liftik (CA Bar No. 232430)
10   1300 I Street, Suite 900
     Washington, D.C. 20005
11   Telephone: (202) 538-8000
12   michaelliftik@quinnemanuel.com
     Emily C. Kapur (CA Bar No. 306724)
13   555 Twin Dolphin Dr., 5th Fl.
     Redwood Shores, California 94065
14   Telephone: (650) 801-5000
     emilykapur@quinnemanuel.com
15

16   Counsel for Defendants Dfinity USA
     Research LLC, Dfinity Foundation and
17   Dominic Williams

18                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
19

20   DANIEL VALENTI, Individually and on Behalf          Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
21                                                       [PROPOSED] ORDER GRANTING
                                 Plaintiff,              DEFENDANTS’ MOTION TO
22                                                       STRIKE PORTIONS OF
               v.                                        PLAINTIFF’S MOTION TO SEAL
23
                                                         AND THE FEBRUARY 24, 2023
24   DFINITY USA RESEARCH LLC, DFINITY                   DECLARATION OF EDWARD
     FOUNDATION and DOMINIC WILLIAMS,                    NORMAND IN SUPPORT THEREOF
25
                                 Defendants.
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       [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO STRIKE PORTIONS OF PLAINTIFF’S
         MOTION TO SEAL AND THE FEBRUARY 24, 2023 DECLARATION OF EDWARD NORMAND IN
                                      SUPPORT THEREOF
                                   CASE NO. 3:21-CV-06118-JD
              Case 3:21-cv-06118-JD         Document 104-1     Filed 02/27/23      Page 2 of 2


 1            Pending before the Court is Defendants Dfinity USA Research, LLC, Dfinity Foundation,

 2   and Dominic Williams’ (together, “Defendants’”) Motion to Strike Portions of Plaintiff’s Motion

 3   to Seal and the February 24, 2023 Declaration of Edward Normand in support thereof (Dkt. 102-

 4   1) (“Normand Declaration”). After full consideration of the moving and opposing papers of each

 5   party, the arguments of counsel, and all other matters presented to the Court, IT IS HEREBY

 6   ORDERED that Defendants’ Motion to Strike is GRANTED. Paragraph 5 of the Normand

 7   Declaration as well as the corresponding reference to that paragraph in Plaintiff’s Motion to Seal

 8   (Dkt. 102 at 4:21-22) is hereby stricken.

 9            IT IS SO ORDERED.

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11   Dated:                        , 2023

12                                                               Honorable James Donato
13                                                               United States District Judge
                                                                 Northern District of California
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       [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO STRIKE PORTIONS OF PLAINTIFFS’
         MOTION TO SEAL AND THE FEBRUARY 24, 2023 DECLARATION OF EDWARD NORMAND IN
                                      SUPPORT THEREOF
                                   CASE NO. 3:21-CV-06118-JD
